

People v Roman (2023 NY Slip Op 02464)





People v Roman


2023 NY Slip Op 02464


Decided on May 09, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 09, 2023

Before: Renwick, A.P.J., Kapnick, Gesmer, Pitt-Burke, Higgitt, JJ. 


Ind. No. 30030/18 Appeal No. 196 Case No. 2019-307 

[*1]The People of the State of New York, Respondent,
vMichael Roman, Defendant-Appellant. 


Twyla Carter, The Legal Aid Society, New York (Rebecca D. Martin of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Conor E. Byrnes of counsel), for respondent.



Order, Supreme Court, New York County (Roger S. Hayes, J.), entered on or about May 4, 2018, which adjudicated defendant a level three sex offender pursuant to the Sex Offender Registration Act (Correction Law art 6-c), unanimously affirmed, without costs.
The court providently exercised its discretion when it declined to grant a downward departure (see People v Gillotti, 23 NY3d 841 [2014]). The mitigating factors cited by defendant, including his satisfactory but unexceptional performance in sex offender treatment, were adequately taken into account by the risk assessment instrument or were outweighed by the egregiousness of the underlying sex crime, which was committed against a three-year-old child. Defendant did not establish that his age and health issues would reduce his risk of reoffense (see People v Ramos, 199 AD3d 423, 423 [1st Dept 2021], lv denied 38 NY3d 910 [2022]), or that any of his point assessments overstate that risk. We have considered and rejected defendant's remaining arguments.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 9, 2023








